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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          5:20-mc-24-JGB (SPx)                                          Date   February 24, 2021
 Title             Interior Electric Incorporated Nevada v. Melinda Beverly, et al.




 Present: The                     Sheri Pym, United States Magistrate Judge
 Honorable
                Kimberly Carter                                None                             None
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                         None Present                                         None Present
 Proceedings:                 (In Chambers) Order Directing Movant to Clarify its Attorneys’ Hourly
                              Rates

       On January 20, 2021, movant Interior Electric Incorporated Nevada, by and
through its attorney of record Chad F. Clement, filed a declaration in support of its
request for attorneys’ fees (“Clement Decl.”) pursuant to the court’s order granting
movant’s motion to compel compliance with its Rule 45 subpoenas. Docket no. 12.
Movant seeks a total of $22,290.00 for attorneys’ fees and costs, based on 78.1 hours of
work by movant’s counsel between January 23, 2020 and December 23, 2020, incurred in
attempting to obtain respondents Melinda Beverly’s and Schiff & Shelton’s compliance
with its subpoenas, and preparing for and filing the motion to compel and other related
filings. See Clement Decl. ¶ 13. Movant’s attorneys’ fees can be broken down as
follows: $7,247.50 for 22.3 hours by Chad F. Clement; $2,340.00 for 7.2 hours by Cody
S. Mounteer; $9,130.00 for 33.2 hours by Jared M. Moser; $2,925.00 for 11.7 hours by
Collin M. Jayne; and $647.50 for 3.7 hours by counsel’s paralegal. Id. ¶¶ 14-16.

       Although movant’s counsel does not state what his or the other attorneys’ hourly
rates are, his breakdown of their attorneys’ fees indicate that Chad F. Clement’s and
Cody S. Mounteer’s hourly rate is $325, Jared M. Moser’s hourly rate is $275, and Collin
M. Jayne’s hourly rate is $250. See id. ¶ 14. The court notes, however, that these hourly
rates appear to be inconsistent with the hourly rates listed in movant’s counsel’s invoice.
For example, the invoice indicates that Chad F. Clement and Cody S. Mounteer charge
$100 for 0.4 hours of work, which would suggest that their hourly rate would be $250 as
opposed to $325. See id., Ex. 1 at 3, 6. Likewise, the invoice indicates that Jared M.
Moser charges $250 for an hour of work as opposed to $275. See id., Ex. 1 at 20. Collin
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M. Jayne’s hourly rate is the only one that appears to be consistent with the breakdown of
attorneys’ fees in the declaration. See id., Ex. 1 at 20.

       Accordingly, the court hereby directs movant to file a declaration clarifying its
attorneys’ hourly rates, by March 3, 2021.




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